      Case: 1:19-cv-02581 Document #: 34 Filed: 06/24/19 Page 1 of 1 PageID #:1146




Anti-Age Technologies, LLC                        )
                                                  )
v.                                                )      Case No. 19-cv-2581
                                                  )
THE PARTNERSHIPS and                              )      Judge: Hon. Manish S. Shah
UNINCORPORATED ASSOCIATIONS                       )
IDENTIFIED ON SCHEDULE “A,”                       )      Magistrate: Hon. Sunil R. Harjani
                                                  )
                                                  )


                                           Voluntary Dismissal

           Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Anti-Age Technologies,

voluntarily dismiss any and all claims against defendants without prejudice:

 Doe
 #         Seller Name                Seller ID
     203   womenvipshopping           58a7c8487c47636ed8674b89
     454   fashionsisterjewelryshop   5b07932fc721a96e2b172c04



Dated: June 24, 2019
                                                  Respectfully submitted,



                                                  By:     s/David Gulbransen/
                                                         David Gulbransen
                                                         Attorney of Record

                                                         David Gulbransen (#6296646)
                                                         Law Office of David Gulbransen
                                                         805 Lake Street, Suite 172
                                                         Oak Park, IL 60302
                                                         (312) 361-0825 p.
                                                         (312) 873-4377 f.
                                                         david@gulbransenlaw.com
